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 7                          UNITED STATES DISTRICT COURT
 8                                  DISTRICT OF NEVADA
 9

10   UNITED STATES OF AMERICA,

11          Plaintiff,                             Case No. 2:13-cr-00206-LDG (PAL)

12   v.                                            ORDER

13   TERESA ANN TOWNS,

14          Defendant.

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16          The Defendant, Teresa Ann Towns, has moved pursuant to Fed. R. Crim. Proc. 35

17   to amend the judgment of the Court (a) to reflect the Court’s oral authorization, stated at

18   her sentencing, that she be permitted to enter the VFW Post for social and civic purposes;

19   and (b) to clarify whether the Court intended that she pay interest on the restitution owed.

20   The United States opposes, arguing that Rule 35 permits the correction of a sentence only

21   within 14 days of oral announcement of the sentence. The United States further asserts

22   that there is not a basis to amend the Judgment for clerical error under Rule 36.

23          The Court agrees that the Defendant’s motion is untimely under Rule 35.

24          Nevertheless, a review of the audio recording of the sentencing establishes that

25   defense counsel asked the Court to allow the Defendant to enter the VFW Post, even

26   though it had slot machines, acknowledging that she would comply with the gambling
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 1   prohibition. The Court responded that it would leave the question whether the defendant

 2   could enter the VFW Post up to the Probation Office, but that the Court would authorize it

 3   provided the Probation Office was satisfied it was legitimate. The Court’s determination

 4   reflected a modification of the gambling prohibition that is not reflected in the Judgment as

 5   currently entered. The Court considers this to be a clerical error in the Judgment that can

 6   be corrected at any time under Rule 36. Thus, the Court will order the Clerk of the Court to

 7   prepare an Amended Judgment for the Court’s signature that reflects the modification to

 8   the gambling prohibition, Special Condition of Supervised Release #6, that was allowed by

 9   the Court at sentencing.

10           The Defendant’s remaining request is for clarification regarding her obligation to pay

11   interest upon restitution. The request does not concern a clerical error, and therefore

12   amendment of the judgment to reflect the request is neither warranted nor authorized

13   pursuant to Rule 36. Therefore, for good cause shown,

14           THE COURT ORDERS that Defendant’s Motion to Amend Judgment of Conviction

15   (#60) is GRANTED in part and DENIED in part as follows: The Clerk of the Court shall

16   prepare for the Court’s signature an Amended Judgment that adds the following sentence

17   to Special Condition of Supervised Release #6 (the Gambling Prohibition): “You may,

18   however, enter the VFW Post for social and civic purposes so long as (a) the Probation

19   Office verifies the legitimacy of the establishment, (b) the Probation Office expressly

20   approves your entry into the VFW Post, and (c) you do not engage in any gambling

21   activity.”

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23    DATED this ______ day of March, 2014.
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25                                                              Lloyd D. George
                                                                United States District Judge
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